Exhibit J


                                IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                         WESTERN DIVISION
                                        Consolidated Civil Action


        RALEIGH WAKE CITIZENS             )
        ASSOCIATION, et al.,              )
                                          )
                              Plaintiffs, )
                                          )
                   v.                     )                         No. 5:15-CV-156-D
                                          )
        WAKE COUNTY BOARD OF ELECTIONS, )
                                          )
                              Defendant.  )


        CALLA WRIGHT, etal.,                             )
                                                         )
                                          Plaintiffs,    )
                                                         )
                                                         )          No. 5:13-CV-607-D
                                                         )
        STATE OF NORTH CAROLINA,                         )
                                                         )
                                          Defendant.     )


                                                        ORDER

               In the submission ofthe Wake County Board ofElections of July 18, 2016, theWake County

        Board of Elections noted that Wake County has a population of nearly 1,000,000 people and

        explained all of the logistical events that must be completed for orderly elections on November 8,

        2016. See [D.E. 83, 83-1, 83-2V The Wake County Board of Elections also explained that it

        needed to do numerous things before August 10, 2016, in order to have orderly elections on

        November 8, 2016, including receiving a revised district map and coding revised districts in order



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                   This order references docket entries as they appear in Civil Action No. 5:15-CV-156-D.



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to identify the addresses within each district. See [D.E. 83] 4--5; [D.E. 83-1], 23; [D.E. 83-2].

        The court requests that the Wake County Board of Elections advise the court of its best

estimate of how long it will take the Wake County Board ofElections to code revised districts under

the following scenarios for the November 2016 elections:

        (1) use the redistricting plan that the Fourth Circuit declared unconstitutional; or,

        (2) use the 2011 School Board redistricting plan that was used in elections in Wake County

in 2011 and 2013 and use the 2011 Wake County Board of Commissioners redistricting plan that

was used in elections in Wake County in 2014; or,

        (3) use the Representative Gill seven single-member district redistricting plan at Trial

Exhibits 471-72 and the two single-member super district redistricting plan at Trial Exhibits 4 73-74;

or,

        (4) use the illustrative seven single-member district redistricting plan and the two single-

member super district redistricting plan that the legislative leaders submitted on August 3, 2016, at

[D.E. 91-1, 91-2, 91-3, 91-4].

        The court's focus is on having timely and orderly elections while being faithful to the Fourth

Circuit's mandate and governing precedent. As such, the court requests that the Wake County Board

of Elections rank the four options listed above, from most feasible to have orderly elections to least

feasible to have orderly elections. If it is infeasible or impossible to have orderly elections on

November 8, 2016, under any of the four options, the Wake County Board of Elections shall notify

the court of this fact in its response to this order.

        Given the exigent circumstances concerning the.remedy in this case, the court requests that

the Wake County Board ofElections rank no two options the same. The court needs this information


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as soon as possible, but no later than 4:00p.m. on Monday, August 8, 2016.

       SO ORDERED. This       -r day of August 2016.

                                                     J     S C. DEVER III
                                                     Chief United States District Judge




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